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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK


 SECURITIES AND EXCHANGE
 COMMISSION,
                                                  Civil Action No. 10-CV-2031 (DLI) (JMA)
                          Plaintiff,

                 -v.-
                                                  NOTICE OF MOTION BY
 SPONGETECH DELIVERY SYSTEMS,                     MICHAEL CRAVEN, RECEIVER,
 INC.; RM ENTERPRISES                             OF RELIEF DEFENDANT
 INTERNATIONAL, INC.;                             BUSINESSTALKRADIO.NET
 STEVEN Y. MOSKOWITZ;                             ACQUISITIONS CORP., ALLOWING
 MICHAEL E. METTER;                               HE AND HIS COUNSEL TO WITHDRAW
 GEORGE SPERANZA;                                 AND EXCUSING THEM FROM FURTHER
 JOEL PENSLEY; and                                PARTICIPATION IN THIS CASE
 JACK HALPERIN,

                          Defendants,
 and

 BLUE STAR MEDIA GROUP, INC.,
 BUSINESSTALKRADIO.NET
 ACQUISITION CORP.,

                          Relief Defendants.

           PLEASE TAKE NOTICE, that Michael Craven, Court appointed Receiver (the

 “Receiver”) of BusinessTalkRadio.Net Acquisitions Corp. and its affiliates/subsidiaries (“BTR),

 hereby moves this Court for an order allowing he and his counsel to withdraw and excusing them

 from further participation in this case (“the “Motion”). The grounds for the Motion are as

 follows:

                                        BACKGROUND

           1.   By an order entered on or about July 18, 2012 (the “Receiver Order”), the

 Receiver was appointed by the Delaware Court of Chancery to oversee the liquidation of BTR’s

 assets. The Receiver has now sold the last of BTR’s tangible assets.
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           2.   Pursuant to the joint stipulation of BTR and the SEC, with the consent of Solution

 Funding and the Trustee, entered by order of this Court on June 20, 2012 and modified by order

 of October 9, 2012, proceeds, net of reasonable closing costs, from the sale of BTR assets were

 to be delivered to and held in the Court Registry Investment System Account (“CRIS Account”).

 Collectively, the June 20, 2012 and October 9, 2012 orders are referred to as the “CRIS Order”.

 The Receiver has now delivered the net proceeds of the various asset sales to the CRIS Account.

 See generally Receiver’s Annual Report dated December 16, 2013 filed with the Court

 Chancery, attached hereto as Exhibit A. As of this writing, the CRIS Accounts holds a little over

 $1 million.

                    THE RECEIVER’S ANTICIPATED REMAINING ACTIONS

           3.   The Receiver is not aware of any remaining BTR intangible assets of any material

 value, although he has not instructed counsel or forensic accountants to investigate possible

 causes of action. Nonetheless, given the limited funds available, the Receiver does not believe

 there is an appetite among the creditors to finance the Receiver to embark on such a fishing

 expedition. Therefore, the Receiver believes that the purpose for his appointment has been

 fulfilled, and that the best results will be achieved for the creditors if the Receiver is permitted to

 exit in the most efficient way possible.

           4.   Other than seeking to be discharged from his obligations by the Court of

 Chancery, the only substantial remaining obligations left for the Receiver are (1) to wind up

 BTR’s business and, (2) to resolve this matter as to BTR, as relief defendant. The amended

 complaint in this case does not seek any relief from the Receiver (as opposed to BTR).




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           5.   The Receiver has had preliminary discussions with counsel for the plaintiff, the

 Securities Exchange Commission (“SEC”), and counsel for one creditor, Solution Funding LLC

 (“SF”) regarding whether the Court should enter judgment against BTR and, if so, the terms of

 such judgment. It became clear during such discussions that there was no readily apparent route

 to resolve this issue, there was a divergence of views on these questions, and that a continued

 litigation process was likely necessary to bring the matter to a conclusion.

                                      RELIEF REQUESTED

           6.   By this Motion, the Receiver respectfully requests that in order to preserve the

 remaining assets for the creditors, that he and his counsel be permitted to withdraw and be

 excused from any further participation in this case, and that any other creditor be granted

 standing to defend BTR, or dispute that judgment be entered against BTR.

                                           ARGUMENT

           7.   This litigation action is the last substantial and substantive item that the Receiver

 must address. As soon as the Receiver is able to bring this matter to a conclusion, he will apply

 to the Delaware Court of Chancery to be discharged from any further obligations to action behalf

 of BTR.

           8.   So long as the Receiver and his counsel are involved, the Receiver and his

 counsel must continue to be compensated. Each new filing will require the Receiver’s counsel to

 read the new filing. And, indeed, if there is extended ligation, then the Receiver and his counsel

 may potentially incur substantial compensation and fees. BTR is no longer an operating entity,

 and therefore, compensation for the Receiver and his counsel must come out of the CRIS fund,




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 thereby immediately reducing the amount to be left for creditors. 1 The question then becomes

 whether such expense could be justified and be a benefit to the creditors.             Under the

 circumstances in this case, it would be highly preferable and beneficial to the creditors to allow

 the Receiver and his counsel to withdraw from this case.

           9.    At this point, BTR has no “dog in this fight.” It has preserved and liquidated its

 assets for the benefit of its creditors as best as it could. However, BTR is hopelessly insolvent.

 There will be nothing left for BTR or its equity holders. The only question now is which

 creditors are entitled to be paid what remains. It is a fight among creditors. BTR itself has no

 stake. It makes no sense for the Receiver or his counsel to continue their involvement, which

 will only result in the amount to be distributed to creditors to be diminished.

           10.   The CRIS Order was created after the SEC amended its complaint in order to

 name BTR as a relief defendant and SF filed as an intervenor in opposition to the SEC’s filing.

 The rationale for the CRIS Order is that if SF’s claim, or any other claim, is senior to the SEC’s

 request for disgorgement against BTR, then litigating the merits of the SEC’s disgorgement

 claim would be wasteful. There are presently pending before this Court motions by SF, other

 creditors and the SEC which will determine if SF’s claim or any other claim is senior to the SEC.

 If other claims are senior to the SEC’s claim and equal to or in excess of the CRIS Account




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   At present, there is some residual revenue coming in to BTR which is presently funding BTR’s
 wind-up activities. The Receiver’s present plan is to use this residual revenue to fund BTR’s
 remaining wind up activities and deposit any remaining amounts with this Court’s CRIS fund.
 Of course, if the Receiver and his counsel must stay involved, then the residual revenue will soon
 run out, and the Receiver will need to apply for disbursements to the CRIS account, thereby
 reducing amounts to be distributed to other creditors.
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 proceeds, then there is no need whatsoever to decide the SEC’s claim against BTR. In this case,

 there would be nothing for the Receiver to do.

           11.   If, however the Court determined that the SEC’s disgorgement award would be

 senior or pari passu with SF’s claim or any other creditor’s claim, then litigating the merits of the

 SEC’s disgorgement claim would become a necessary action. Thus, it would be unfair and

 contrary to the Receiver’s duty to BTR’s creditors generally to just concede the SEC’s claim at

 present.

           12.   Therefore, if it became necessary to contest the SEC’s disgorgement claim, would

 there be others who were sufficiently motivated to do so? The Receiver believes there would be.

 SF was promised the right to contest the SEC’s claim if the claims procedure resulted in that

 action being warranted. SF, as well as other creditors that have filed motions to be paid out of

 the CRIS Account; SF and other creditors have the resources and the motivation to act on behalf

 of BTR if it is necessary in order to protect their claims. Those creditors should be required to

 do so (and not BTR) since it is the creditors’ interests that would be protected. BTR itself has no

 interests to protect at this point.

           13.   The Receiver is neutral as to the outcome of the SEC’s (and others’) claims and,

 thus, cannot justify diminishing BTR’s estate in pursuit of one outcome or another. Diminishing

 the estate of BTR to fund its continued existence would serve no purpose. Moreover, the

 Receiver has no knowledge of the factual matters underlying the SEC’s claim to contribute.

 Thus, the Receiver does not bring any useful “institutional” knowledge to the table.




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           14.    For all intents and purposes, the entirety of BTR’s estate is held or will be held in

 CRIS Account under the CRIS Order where those with economic interest in competing claims

 can pursue their claims and interests.

           WHEREFORE, the Receiver respectfully requests that he and his counsel be permitted to

 withdraw, and that any creditor whose claim may be harmed by entry of judgment against BTR,

 be granted standing to defend BTR.


 Dated: January 31, 2014                          MORRIS JAMES LLP

                                                  /s/ Brett D. Fallon
                                                  Brett D. Fallon (DE Bar No. 2480)
                                                  500 Delaware Avenue, Suite 1500
                                                  P. O. Box 2306
                                                  Wilmington, DE 19899-2306
                                                  Telephone:      (302) 888-6888
                                                  Facsimile:      (302) 571-1750
                                                  Email: bfallon@morrisjames.com

                                                  Attorneys for Michael Craven, not in his individual
                                                  capacity but solely in his capacity as Receiver for
                                                  BusinessTalkRadio.Net Acquisition Corp.




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